Case No. 1:19-cv-03417-WJM-STV Document 36-4 filed 11/17/20 USDC Colorado pg 1 of
                                      1




            FRONVIER

           To:            Rebecca Kruger, 13206
           From:          Robert Mitchell, inflight manager
           Date:          17 November 2008
           RE:            Four Sick Instances Reminder

           Hi, Rebecca,
           As you know, Frontier takes a great deal of pride in maintaining an
                                                                               outstanding
           completion factor and on-time performance record with the Department of
           Transportation. This record positions us favorably with our customers and
           contributes to the recognition we receive such as "Best Low -Cost Carrier."

           From an inflight standpoint, we play a significant role in supporting the
                                                                                      airline's
           success by maintaining a consistent level of dependability within our Flight
           Attendant workgroup. To accomplish this, it Is important we advise you that our
           records reflect that you currently have 4 sick instances in a rolling 12
                                                                                    month
           period. The purpose of this letter is for advisement only. However, I
                                                                                    ask that you
           review Flight Attendant Handbook 70.00 to understand our concern should
                                                                                            you
           reach five instances within any 12 -month period.

        I have listed the dates below for your review.
                                                       If you feel this is in error, have any
        questions, or need assistance, please stop by the Inflight office to see me or call
        any time.

        Sick occurrences -
           1. 12.22.7
           2. 9.14.8
           3. 9.28 -30,8
           4. 10.13 -15.8

       I   appreciate your commitment to maintaining a dependable airline.

       Sincerely,


       Robert Mitchell
       inflight manager

       720.226.1583
       ,rmitchell@fivfrontier.com




                                                                    FRONTIER AIRLINES (R. BRIGHAM) - 0001117

                                                                                                   ESI00000008-3
